     Case 21-01805        Doc 42       Filed 02/22/21 Entered 02/22/21 11:01:39                      Desc Main
                                         Document     Page 1 of 2



                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

    In re:                             )                             Chapter 11
                                       )
    MERCY HOSPITAL AND MEDICAL CENTER, )                             Case No. 21-01805
    et al.1                            )
                                       )                             Honorable Timothy A. Barnes
             Debtors-in-Possession.    )
                                       )                             (Jointly Administered)

                                         NOTICE OF OBJECTION

To: See Attached Service List

             PLEASE TAKE NOTICE that the United States Trustee has an objection to and

respectfully requests to be heard on the following motion:

             (i)   Motion to Approve Case Management Procedures, (II)
                   Approving the Notice Thereof, and (III) Granting Related
                   Relief [Dkt. No. 29]

noticed for hearing on February 23, 2021 at 2:00 p.m. before the Honorable Timothy A. Barnes.

                                                               PATRICK S. LAYNG
                                                               UNITED STATES TRUSTEE

                                                               /s/ Jeffrey Gansberg
                                                               Jeffrey Gansberg, Attorney
                                                               OFFICE OF THE U.S. TRUSTEE
                                                               219 S. Dearborn, Room 873
                                                               Chicago, Illinois 60604
                                                               (312) 886-3327

                                      CERTIFICATE OF SERVICE

       I, Jeffrey Gansberg, an attorney, state that on February 22, 2021, pursuant to Local Rule
9013-1(D) the Notice of Objection was filed and served on all parties via the Court’s Electronic
Notice for Registrants, as indicated below.

                                                               /s/ Jeffrey Gansberg


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal identification number
are: Mercy Hospital and Medical Center (0152) and Mercy Health System of Chicago (3327).
 Case 21-01805     Doc 42     Filed 02/22/21 Entered 02/22/21 11:01:39      Desc Main
                                Document     Page 2 of 2



                                    SERVICE LIST

Registrants Served Through the Court’s Electronic Notice For Registrants:

      Erin M Buechler       erin.buechler@comed.com
      Augustus T Curtis     augustus.t.curtis@usdoj.gov
      Jaime Dowell          jaime.dowell@cityofchicago.org
      Charles A King        chuck.king@cityofchicago.org
      Phillip A Martin      pmartin@fmdlegal.com
      Matthew J Stockl      mstockl@foley.com; TDolcourt@foley.com;
                            dnichols@foley.com; egreen@foley.com; docketflow@foley.com
      Matthew Struble       mstruble@velaw.com
